           Case 2:16-cr-00287-JLR        Document 284       Filed 04/17/17       Page 1 of 2




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )           CASE NO. CR16-287-JLR
09         Plaintiff,                     )
                                          )
10         v.                             )           ORDER DENYING DEFENDANT’S
                                          )           MOTION TO REVIEW DETENTION
11   PABLO CATANO,                        )           HEARING
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14          Defendant Pablo Catano was indicted a charge of Conspiracy to Distribute Controlled

15 Substances on October 26, 2016. (Dkt. 1.) Defendant was represented by Gabriel Banfi. (Dkt.

16 52.) Following a detention hearing on November 9, 2016, the defendant was ordered detained.

17 (Dkt. 96, 103.) Defendant is now represented by Peter Mazzone, and is awaiting trial. (Dkt.

18 160.)

19          Defendant moves this Court to review the detention order and set conditions of Release.

20 (Dkt. 274.) The government has filed a response in opposition to the motion. (Dkt. 277.) Judge

21 Robart has referred the motion to the undersigned Magistrate Judge. The Court finds this motion

22 appropriate for resolution without oral argument or an evidentiary hearing.


     ORDER DENYING MOTION
     TO REVIEW DETENTION HEARING
     PAGE -1
          Case 2:16-cr-00287-JLR          Document 284        Filed 04/17/17     Page 2 of 2




01          Although defendant styled his request as a motion to review this Court’s detention order

02 (18 U.S.C. '3145(b)), a motion to review a ruling of a magistrate judge must be filed within

03 fourteen days of the entry of the ruling. (MJR 12(c)). Therefore, the Court will consider

04 defendant’s request a motion to reopen the hearing based on 18 U.S.C. § 3142(f)(B), which

05 provides that a detention hearing may be reopened “if the judicial officer finds that information

06 exists that was not known to the movant at the time of the hearing and that has a material bearing

07 on the issue whether there are conditions of release that will reasonably assure the appearance

08 of such person as required and the safety of any other person and the community.” Id.

09          However, defendant’s motion fails on those grounds as well. Defendant does not cite

10 '3142(f)(B), or present information alleged to have been unavailable at the time of the detention

11 hearing, but simply re-presents the argument that defendant is an appropriate candidate for

12 release. While defendant argues that his ties to this community are strong and his continued

13 detention poses a hardship to his family and business interests, defendant also concedes that

14 these arguments were presented at the detention hearing. (Dkt. 274 at 12-13.) Defendant fails

15 to make the required showing that would justify reopening the Court’s determination that

16 defendant poses a risk of danger and a risk of nonappearance.

17          Defendant’s Motion for Reconsideration of Order of Detention is DENIED.

18          DATED this 17th day of April, 2017.

19

20                                                        A
                                                          Mary Alice Theiler
21                                                        United States Magistrate Judge

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     ORDER DENYING MOTION
     TO REVIEW DETENTION HEARING
     PAGE -2
